

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-75,759






EX PARTE THOMAS LEE SANDERS, Applicant








ON APPLICATION FOR WRITS OF HABEAS CORPUS


CAUSE NO. W01-40834-H(A)

IN THE CRIMINAL DISTRICT COURT NO. 1

FROM DALLAS COUNTY





	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court these applications for writs of habeas corpus.  Ex
parte Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of one charge
of indecency with a child by contact, and two charges of  indecency with a child by exposure, each
enhanced by a prior felony conviction.  Applicant was sentenced to life imprisonment for the
indecency by contact and twenty years' imprisonment for each the indecency by exposure charges. 
The Fifth Court of Appeals affirmed his convictions. Sanders v. State, Nos. 05-03-01558-CR,  05-03-01557-CR &amp; CR-05-03-01556-CR (Tex. App. - Dallas, November 30, 2004).  

	Applicant contends, inter alia, that he was denied the opportunity to petition this Court for
discretionary review.  The record supports Applicant's assertion.  We find, therefore, that Applicant
is entitled to the opportunity to file an out-of-time petition for discretionary review of the judgment
of the Fifth Court of Appeals in Cause Nos. 05-03-01558-CR, 05-03-01557-CR, and 05-01556-CR,
that affirmed his convictions in Cause Nos. W01-40834-H(A), W01-40833-H(A) and W01-40832-H(A) from the Criminal District Court No. 1 of Dallas County.  Applicant shall file his petition for
discretionary review with the Fifth Court of Appeals within 30 days of the date on which this Court's
mandate issues.

	Applicant's remaining claims are dismissed.  See Ex parte Torres, 943 S.W.2d 469 (Tex. Crim.
App. 1997).


Delivered: September 12, 2007

Do not publish


